Case 2:OO-cv-02863-.]PI\/|-tmp Document 440 Filed 04/20/05 Page 1 of 3 Page|D 353

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lN THE UN|TED STATES DrSTRlCT COURT
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W.D. OF TN. ivEElviPH|S

 

ioHN N. HOOPER,
P|aintiff,
('@
No. 00cv2893- jPM-tmp

V.

PUBL|C PROPERT|ES
MANAGEMENT, INC.
(PPM, |NC.), et a/.,

~._p\._r~._r~._r-._z\._y~_r\_r~._r\_/V

Defendants.

 

ORDER GRANT|NG E)(TENS|ON OF T|ME TO DEFENDANT M|CHAEL ]ONES TO
ANSWER OR OTHERWISE RESPOND

 

This matter came before the Court upon the Motion of Defendant Michae| jones to
extend the time within which he may answer or otherwise respond to P|aintiff's Third
Amended Comp|aint herein. lt appears to the Court that good cause has been shown and
that the motion of Defendant Michae| jones is well-taken and should be granted.

lT |S, THEREFORE, ORDERED, AD]UDGED, AND DECREED that Def€ndant Michae|
jones may have an extension of time up to and including May 18, 2005 within which to

answer or otherwise respond to Plaintitf’s Third Amended Comp|aint.

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UNl ED STATES D|STR|CT]UDCE

 

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DATE: M¢:\)Q .-ZUO§

Thls document entered on the docket sheet in co piiance

with Fiuie 58 and/or 79{a} FHCP on

 

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